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                         UNITED STATES BANKRUTPCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:

 JONAS A. BELINASO,                                Case No. 18-21600-RAM
                                                   Chapter 7
        Debtor.
 ____________________________/

                       CHAPTER 7 TRUSTEE’S RESPONSE TO
                   ROSSMAN, BAUMBERGER, REBOSO & SPIER, P.A.,
                        MOTION FOR PROTECTIVE ORDER

         MARCIA T. DUNN, as Chapter 7 Trustee (the “Trustee”) of the above-captioned

bankruptcy estate (the “Estate”), by and through undersigned counsel, hereby files this Response

to Motion for Protective Order as to DOC. 94 [D.E. 97] filed by Rossman, Baumberger, Reboso

& Spier, P.A. (the “Motion”) and states as follows:

                                        BACKGROUND

         1.     On September 21, 2018 (the “Petition Date”), JONAS A. BELINASO (the

“Debtor”), commenced the instant bankruptcy case with the filing of a voluntary petition for relief

under Chapter 13, Title 11 of the United States Bankruptcy Code.

         2.     On October 24, 2018, the Debtor’s §341 Meeting of Creditors was held and
concluded.
         3.     Marcia T. Dunn is the duly appointed Chapter 7 Trustee of the Debtor’s bankruptcy

estate (the “Estate”).

         4.     On January 22, 2019, Trustee’s counsel conducted a Rule 2004 Examination of the

Debtor (“Debtor’s 2004”).

         5.     Based on the Debtor’s testimony during Debtor’s 2004, it became apparent that

Debtor had a claim, along with his wife and minor child, in connection with a medical malpractice
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action which left their minor child with a disability (the “Malpractice Claim” or “Malpractice

Action”).

        6.      During Debtor’s 2004, Debtor also testified that he waived his right to his interest

in the Malpractice Claim but was unable to articulate the impact of his waiver, or the circumstances

surrounding said waiver.

        7.      The Trustee obtained from Debtor’s counsel a copy of a Waiver of Priority, Consent

to Appointment of Guardian and Waiver of Notice of Bond executed by the Debtor on January 13,

2015 (the “Waiver”) which Waiver was filed in the guardianship matter of the minor child.

        8.      During the course of Debtor’s 2004 examination, Debtor also explained that he was

subject to a criminal proceeding that was active from early 2012 to 2016, and that due to the

criminal proceeding, he was under close scrutiny and could not have a bank account or other

property in his name.

        9.      Trustee requires additional information regarding the Waiver and its impact on

Debtor’s entitlement to share in the Malpractice Claim recovery and if the Trustee holds any claims

or causes of action as a result.

                              THE FIRM’S 2004 EXAMINATION

        10.     On August 15, 2019, the Trustee filed and served a Notice of 2004 Examination

Duces Tecum and Subpoena of Rossman, Baumberger, Reboso & Spier, P.A. [D.E. 94]. At no

time did the Firm contact Trustee’s counsel, as required by Local Rule 9073-1(D), to attempt to

resolve the Motion without hearing.

        11.     A careful review of the Document Requests reveals that the Trustee is seeking

documents with regard to the Debtor and Debtor’s spouse’s dealings with the Firm, and

specifically requests that records be redacted for privilege [D.E. 94, Request 5].




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       12.     Trustee has attempted to craft her document request in order to obtain records

reflecting the financial dealings and settlement as it relates to the Debtor and Debtor’s spouse, and

not those, necessarily, of their minor child, with one exception. Request number 6, which requests

documents which show the impact of Debtor’s Waiver, if any, on the settlement of the claims of

the minor child and Debtor’s spouse.

       13.     The heart of the Firm’s Motion goes to two issues, 1) the Firm’s work product

prepared in the Malpractice Action, and 2) correspondence claimed as attorney client privilege.

       14.     The Firm has not prepared a privilege log, but merely refuses to produce any

documents.

       15.     The Trustee seeks the requested discovery for the purpose of analyzing whether

Chapter 5, or any other 3rd party causes of action exist. Therefore, the Trustee believes the

requested discovery is appropriate. See Whyte v. Williams (In re Williams), 152 B.R. 123

(Bankr.N.D.Tex.1992) (holding that trustee had the power to waive privilege in the case of an

individual debtor where the trustee sought to pursue avoidance causes of action), and Moore v.

Eason (In re Bazemore), 216 B.R. 1020 (Bankr.S.D.Ga.1998) (holding that trustee may waive

privilege where no harm would come to the individual debtors and where waiver would not have

a chilling effect on the attorney-client relationship);

       16.       It is the Trustee’s position, with the filing of the Debtor’s bankruptcy petition, he

relinquished control over his evidentiary privileges made in connection with potentially avoidable

transfers. See Whyte v. Williams (In re Williams), 152 B.R. 123 (Bankr.N.D.Tex.1992).

       17.     Without the requested discovery, the Trustee’s efforts to investigate potential

claims and causes of action, and administration of this Estate would be frustrated.




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       18.     The Trustee has no objection to limiting the production to the extent necessary

protect the confidential information of the minor child.

       WHEREFORE, for the reasons set forth herein, the Chapter 7 Trustee, Marcia T. Dunn,

respectfully requests this Court enter an Order: (1) denying Rossman, Baumberger, Reboso &

Spier, P.A.’s Motion; (2) compelling Rossman, Baumberger, Reboso & Spier, P.A. to attend the

taking of its Rule 2004 examination and production of the requested documents; and (3) granting

such other and further relief as the Court deems just and proper.

Dated: September 26, 2019

                                             Respectfully Submitted,

                                             DUNN LAW, P.A.
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                                             By:     /s/ Joel S. Knee        d
                                                       Joel S. Knee, Esq.
                                                       Fla. Bar No. 297488

                                CERTIFICATE OF SERVICE


       I CERTIFY that a true and correct copy of the foregoing was served via Notice of
Electronic Filing (CM/ECF) on September 26, 2019, upon all registered users in this case, and

       ANDREW P. RODRIGUEZ, Esq
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                                             By:     /s/ Joel S. Knee        d
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